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 3 (619) 933-2988
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                         District court of the United States
 9                        Southern district of California
IO
      Clifford J. Bourgeois,                       Case No:     '17CV1881 GPC AGS
11         Plaintiff,
12
              vs.                                  Complaint for Damages
13
      Allied Interstate, LLC
14         Defendant                               Trial by Jury Demanded
15
16
17                       NATURE OF THIS CLAIM/COMPLAINT
18
19    1.   The United States Congress has found evidence that residential telephone
20         subscribers consider automated or prerecorded telephone calls, regardless of
21         the content or the initiator of the message, to be a nuisance and an invasion
22         of privacy. Banning such automated or prerecorded telephone calls to the
23         home, except when the receiving party consents to receiving the call is the
24         only effective means of protecting telephone consumers from this nuisance
25         and privacy invasion. Congress wrote The Telephone Consumer Protection
26         Act of 1991, 47 USC 227. (hereinafter TCPA).
27
28
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28
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 1   2.   Plaintiff seeks to recover monetary damages for Defendant's violations of
 2        theTCPA.
 3
 4                           JURISDICTION AND VENUE
 5
 6   3.   This court has jurisdiction pursuant to Article 3 of the Constitution, 47 USC
 7        2273(b)A and 28 USC 1331.
 8   4.   Plaintiff resides in San Diego County, California. Defendant's conduct
 9        causing this complaint occurred in San Diego County, California.
1O   5.   Venue is proper in the southern district of California.
11
12                                       PARTIES
13
14   6.   The Plaintiff in this lawsuit is Clifford J. Bourgeois, a natural person
15        residing in San Diego County, California.
16   7.   Defendant Allied Interstate, LLC (Allied) is a Foreign Minnesota Company,
17        with an office address of 12755 Highway 55, Suite 300, Plymouth, MN and
18        a mailing address of P.O. Box 4000, Warrenton, VA 20188. Allied is
19        properly licensed to conduct debt collection business in California, as shown
20        on Exhibit A.
21   8.   iQor (iQor) is a Global company that provides many different products and
22        services to its customers. They also develop their own proprietary software
23        and hardware technologies to conduct their various business sectors.
24   9.   Allied, as a wholly owned subsidiary ofiQor, conducts their debt collection
25        business under iQor's "Financial Services" segment and utilizes iQor's
26        various technologies.
27
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                 Bourqeois v Allied Interstate, LLC (Original Complaint) - 2
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 1                            FACTUAL ALLEGATIONS
 2
 3   10. In a 7 day period, from October 21, 2014 to October 28, 2014, Plaintiff
 4        received 27 calls to his wireless telephone, number (619) 933-2988,
 5        originating from two different phone numbers, as shown in Exhibit Bl thru
 6        B27.
 7   11. The originating telephone numbers, (877) 498-8563 and (877) 488-3558,
 8        both belong to Defendant.
 9   12. Plaintiff answered many calls and told the Defendant to stop calling his cell
1O        phone, only to realize there was "dead air" and then getting hung up on.
11   13. Phone call number 17 from the Defendant occurred at 9:26pm, as shown by
12        Exhibit B17.
13   14. Phone call number 21 from the Defendant occurred at 9:53pm, as shown by
14        Exhibit B21.
15   15. When Plaintiff answered call number 26, there was nobody on the other end,
16       nor dead air. Strangely, Plaintiff heard a ringing as if Plaintiff was the one
17       who initiated the call. After several rings, an unknown female answered.
18        She refused to answer my question of"why are you calling," saying only
19       that we are "calling on a personal business matter." Furthermore, when
20       Plaintiff asked for the name of the company she worked for, she refused to
21        identify the company. After great frustration, Plaintiff hung up the phone.
22   16. When Plaintiff answered call number 27, again, there was nobody on the
23        other end, nor dead air. Strangely, Plaintiff heard a ringing as if Plaintiff
24       was the one who initiated the call. After several rings, a male, who
25        identified himself as Ed Goyonan (Ed) answered. He refused to answer my
26        question of"why are you calling," saying only that we are "calling on a
27       personal business matter." Furthermore, when Plaintiff asked for the name
28
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 1        of the company he worked for, Ed refused to identify the company. After
 2        great frustration, Plaintiff hung up the phone.
 3   17. Shortly after the phone calls finally stopped, Plaintiff learned that Allied was
 4        trying to collect a credit card debt belonging to Marge Mears (Marge),
 5        Plaintiffs ex-mother-in-law, on behalf of Bank of America.
 6   18. In the regular course of business, Allied uses an "Automatic Telephone
 7        Dialing System" (ATDS), as defined by 47 USC 277A(l), for outbound
 8        calling services. The Public Record of the Texas Public Utilities
 9        Commission demonstrates that Allied has registered its use of auto-dialers,
1O        ATDS equipment, as shown in Exhibit C.
11   19. Furthermore, Allied uses iQor's proprietary APPARATUSES, METHODS
12        AND SYSTEMS FOR AN AUTOMATED DATA EXTRACTOR-BASED WEB
13        ACCESS MANA GER (ADE-WAM) technology which incorporates the use
14        of auto-dialers and automated messages.
15   20. Additionally, Plaintiff acquired a copy of iQor's ADE-WAM Patent from
16        the US Patent Office website, shown as Exhibit D. As shown in the
17        highlighted areas of pages 4, 20 and 23, Allied's use of auto-dialers, ATDS,
18        is well established.
19   21. Regarding each call, at no time has Plaintiff ever given his express consent,
20        written or otherwise, allowing Defendant to use ATDS equipment to call his
21        wireless telephone. Consequently, Defendant violated 47 USC 277b(l)A(iii)
22        27 times.
23   22. Defendant's conduct of invading Plaintiffs privacy and multiple violations
24        of Federal Law has caused the Plaintiff the following damages:
25           a. personal expenses related to seeking remedy in this proceeding
26           b. physical injury to Plaintiff resulting in emotional distress, frustration,
27             mental anguish and loss of happiness.
28
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 1   23. Defendant's conduct in this case is exactly why the San Diego County
 2        District Attorney's Office, as well as three other California DistriCt
 3        Attorney's Office's, have filed their own lawsuits against Defendant on
 4        behalf of the People of California.
 5   24. 47 USC 277a(l) states in part:
            Restrictions on use of telephone equipment
 6
              (a) Definitions as used in this section-
 7               (1) The term ''automatic telephone dialing system'' means
         equipment which has the capacity-
 8                (A) to store or produce telephone numbers to be called, using a
 9       random or sequential number generator; and
                  (B) to dial such numbers.
10
     25. 47 USC 277b(l)A(iii) states in part:
11
             (b) RESTRICTIONS ON THE USE OF AUTOMATED TELEPHONE
12       EQUIPMENT
13            (1) PROHIBITIONS.-Jt shall be unlawful for any person within the
         United States ..
14              (A) to make any call (other than a call ... with the prior express consent
15       of the called party) using any automatic telephone dialing system
                 (iii) to any telephone number assigned to a ... cellular telephone
16       service ... which the called party is charged for the call.
17
18                                   COUNT I OF CLAIM
19                                   Violations of the TCPA
20   26. Plaintiff repeats and re-alleges each and every allegation stated above.
21   27. Defendants' aforementioned conduct violated the TCPA.
22        WHEREFORE, Plaintiff prays for relief and judgment as follows:
23           a. Adjudging that Defendants violated the TCPA;
24           b. Awarding Plaintiff statutory damages, pursuant to 47 USC 227b(3)B,
25              of$500 for each of27 telephone calls, totaling damages of$13,500;
26           c. Awarding Plaintiff court costs.
27           d. Awarding any injunctive or further relief the court deems proper.
28
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 1
 2                                   COUNT II OF CLAIM
 3                                  Violations of the TCPA
 4   28. Plaintiff repeats and re-alleges each and every allegation stated above.
 5   29. Defendants' aforementioned acts constitute numerous and multiple knowing
 6        and/or willful violations of the TCPA.
 7        WHEREFORE, Plaintiff prays for relief and judgment as follows:
 8           a. Adjudging that Defendants willfully and knowingly violated the·
 9              TCPA;
10           b. Awarding Plaintiff additional trebled statutory damages, pursuant to
11              47 USC 227b(3), of$1,500 for each of27 telephone calls, totaling
12              damages of$40,500.;
13           c. Awarding Plaintiff court costs.
14           d. Awarding any injunctive or further relief the court deems proper.
15
16                                Demand for a Trial by Jury
17        Plaintiff demands a Trial by Jury, pursuant to Article 7 of the Constitution.
18
19                                                 Respectfully submitted,
20                                                 Dated: July 27, 2017
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